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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                        11/2/2021

  Sandy Graciano,

                         Plaintiffs,
                                                                                  21-cv-7081 (AJN)
                 –v–
                                                                                        ORDER
  Berghoff International, Inc.

                         Defendant.



ALISON J. NATHAN, District Judge:

        It having been reported to this Court that this case has been settled, it is hereby
ORDERED that the above-captioned action is discontinued without costs to any party and
without prejudice to restoring the action to this Court’s calendar if the application to restore the
action is made within forty-five (45) days. To be clear, any application to reopen must be filed
within forty-five days of this Order; any application to reopen filed thereafter may be denied
solely on that basis.

       All scheduled conferences and deadlines are hereby adjourned. Within the forty-five-day
period provided for in this Order, the parties may submit to the Court their own Stipulation of
Dismissal for the Court to So Order. Pursuant to Rule 5.A. of the Court’s Individual Practices in
Civil Cases, the Court will not retain jurisdiction to enforce a settlement agreement unless the
terms of the agreement are made part of the public record.

       SO ORDERED.


Dated: November 2, 2021


                                                      __________________________________

                                                              ALISON J. NATHAN
                                                              United States District Judge
                                                              New York, New York
